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IN THE CIRCUIT COURT OF THE
FIFTH JUDICIAL CIRCUIT, IN AND
FOR MARION COUNTY, FLORIDA

case No.:@.fj`gj/g) CA-/<

BOBBIB J. ELLIS, an individual,

 

Plaintiff, »/*
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vs_ 5:§</“@1/“%7'57¢ /
cox LuMBER coMPANY, INc-, §=_,-j
a Florida corporation, and ~
DARLENE CAMPBELL, an individual, '

Defendants.

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COMPLAINT - ’

Plaintiff BOBBIE J. ELLIS, by and through her undersigned
counsel, sues Defendants COX LUMBER COMPANY, INC.(hereinafter
referred to “Cox Lumber”) and DARLENE CAMPBELL, and avers:

AVERMENTS COMMON TO ALL CAUSES OF ACTION

l. This is an action for damages that exceed 815,000.

2. Plaintiff Bobbie Ellis is a U.S. Citizen who is more than
40 years of age, and at all times material to this action and at
the present time was and is an employee of Cox Lumber in Florida.

3. Defendant Cox Lumber is a Florida corporation which
maintains an ordinary place of business in Marion County, Florida.
At all times material to this action, Bobbie Ellis was an employee
of the Cox Lumber location in Ocala, Marion County, Florida.

4. Defendant 'Darlene Campbell is an individual who was

Plaintiff's Supervisor at Cox Lumber,

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5. This is an action arising under the laws of the United
States of America, in particular Title VII of the Civil Rights Act
of 1964, as amended, 42 U.S C. § ZOOO(e)(l-G); the Civil Rights
Act of 1991, 42 U.S.C. § l981a; the Age Discrimination in
Employment Act of 1967 (ADEA), 29 U.S.C. § 621~634 (1994 & Supp. IV
1998); and the Americans with Disahilities Act of 1990 (ADA), 42
U.S.C. § 12101-12213 (1994 & Supp. IV 1998), as well as Florida
Civil Rights Act of 1992, §760.01, et seq.

6. Claims also are stated under the common law of the State
of Florida against the Defendants.

7. At all times material hereto, Plaintiff was employed by
Cox Lumber in Marion County, Florida.

8. At all times material hereto, Defendant Cox Lumber has
maintained, acquiesced in the maintaining of, or failed to take
appropriate required action to eliminate a general and consistent
pattern and practice of age, gender, and disability-based
discrimination by managers and supervisors against older, female
and disabled employees in their Ocala location.

9. Such pattern and practice has been consistently
manifested during the Plaintiff‘s employ and prior to the
Plaintiff's filing of an Administrative Complaint with the Equal
Employment Opportunity Commission (EEOC), submitted on or about
August 4, 2003.

lO. Throughout the course and scope of her employment with

Cox Lumber, the Plaintiff was subjected to harassment on the basis

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of her age, gender, and disability by her supervisor. Among other
incidents, her supervisor referred to the Plaintiff, in front of
other employees at Cox Lumber, as an “old bitch.” Furthermore, the
supervisor expressed to fellow employees that the Plaintiff was too
old to work at Cox Lumber and to perform the duties of a
receptionist. Supervisors and fellow employees at the Defendant's
Ocala office also harassed the Plaintiff in front of customers for
“being too slow" due to her physical limitations.

ll. At all times material hereto, the directors and officers
of Defendant were aware of the foregoing discriminatory practices
and took no action to abate same.

12. Defendant Cox Lumber ultimately terminated the Plaintiff
on or about May 7, 2003 with no warning or notice. The Plaintiff
was replaced by a younger male employee approximately 35 years of
age and paid at a higher rate than the Plaintiff.

13. This suit is being brought within 90 days of the receipt
by Plaintiff of notice by the EEOC of a right to sue defendant
under the Federal and State laws enforced by the United States
Equal Employment Opportunity Commission- A copy of the Right to
Sue Notice is attached hereto as Exhibit “A”.

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(Violation of Title VII of the Civil Rights Act
of 1964, as amended, 42 U.S.C. §2000(2)(1-6))

Directed to Defend§nts Cox Lumber and Campbell

14. Plaintiff hereby incorporates paragraphs l through 13 as

fully and completely as if set forth at length.

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15. Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. §2000(@)(1-6) (hereinafter “Civil Rights Act") prohibits
employment practices which discriminate against employees based on
their gender.

16. For the reasons stated in paragraphs 7 through 12,
Defendants violated the “Civil Rights Act.”

l7. The Civil Rights Act provides for a private right of
action based on gender discrimination.

WHEREFORE, Plaintiff demands Judgment against Defendants
together with compensatory, liquidated and punitive damages,
attorney’s fees, costs and interest as well as reinstatement, back
and front pay and value of benefits, and any other relief deemed
just and proper by this Honorable Court.

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(violation of the Age Discrimination and Employment Act of
1967 (ADEA), 29 U.S.C. §621-634 (1994 and Supp. IV 1998))

girected to Defendants Cox Lumber and Campbgll

13. Plaintiff hereby incorporates paragraphs l through 17 as
fully and completely as if set forth at length.

19. The Age Discrimination and Employment Act of 1967, 29
U.S.C. §621-634 (1994 and Supp. IV 1998), (hereinafter “ADEA”)
prohibits employment practices which discriminate against employees
based on their age.

20. For the reasons stated in paragraphs 6 through ll,

Defendant violated the “Age Discrimination and Employment Act."

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21. The “ADEA” provides for a private right of action based
on age discrimination.

22. Among other incidents, her supervisor referred to the
Plaintiff. in front of other employees at Cox Lumber, as an “old
bitchr” Furthermore, the supervisor expressed to fellow employees
that the Plaintiff was too old to work at Cox Lumber and to perform
the duties of a receptionist. Supervisors and fellow employees at
the Defendant's Ocala office also harassed the Plaintiff in front
of customers for “being too slow” due to her physical limitations.

wHEREFORE, Plaintiff demands Judgment against Defendants
together with compensatory, liquidated and punitive damages,
attorney’s fees, costs and interest as well as reinstatement, back
and front pay and value of benefits, and any other relief deemed
just and proper by this Honorable Court.

CCUNT I I I

(Violation of the American with Disabilities Act of 1990 (ADA)
42 U.S.C. 512101-12213 (1994 and Supp. IV 1998)

Qi£ggted to Defendants Cox Lumber and Campbell

23. Plaintiff hereby incorporates paragraphs 1 through 22 as
fully and completely as if set forth at length.

24. The American with Disabilities Act (hereinafter “ADA”)
prohibits employment practices which discriminate against employees
based on their disability.

25. For the reasons stated in paragraphs 6 through ll,

Defendant violated the American with Disabilities Act.

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26. The “ADA” provides for a private right of action based on
gender discrimination.

wHEREFORE, Plaintiff demands Judgment against Defendants
together with compensatory, liquidated and punitive damages,
attorney’s fees, costs and interest as well as reinstatement, back
and front pay and value of benefits, and any other relief deemed
just and proper by this Honorable Court.

COUNT IV
(Florida Civil Rights Act of 1992, §760.01, et seq.)
`Directed to Defendant Cox Lumber Only

27. Plaintiff hereby incorporates paragraphs 1 through 26 as
fully and completely as if set forth at length.

28. The Florida Civil Rights Act of 1992 prohibits employment
practices which discriminate against employees based on their
gender, age or disability.

29. Plaintiff has complied with all administrative
prerequisites under the Florida Civil Rights Act.

30. For the reasons stated in paragraphs 7 through 12,
Defendant Cox Lumber violated the Florida Civil Rights Act.

31. The Florida Civil Rights Act provides for a private right
of action based on gender, age and/or disability discrimination.

wHEREFORE, Plaintiff requests judgment against Defendant Cox
Lumber, including back pay, mental anguish, loss of dignity and

other intangible damages and punitive damages.

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COUNT V
(Intentional Infliction of Emotional Distress)
Directed to Defendants Cox Lumber and Campbell

34. Plaintiff incorporates paragraphs l through 33 fully and
completely, as if set forth at length.

35. Defendants’ actions as described aforesaid were
outrageous, willful and/or reckless and were intended to inflict
emotional distress upon Plaintiff and did in fact result in said
emotional distress.

WHEREFORE, Plaintiff demands judgment against Defendants for
compensatory damages including, inter alia, medical and curative
expenses, lost wages, mental anguish, loss of dignity and pain and
suffering, in an amount to be determined at trial.

DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury of all issues so triable.

DANIEL L. HIGHTOWER, P.A.

 

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Attorneys for Plaintiff
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